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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA


                                       CASE NO.: 1:16cv25077

  GENEVIEVE FIGUEROA,

         Plaintiff,

  v.

  JEFFERSON CAPITAL SYSTEMS, LLC,

        Defendant.
  _______________________________________/

                              NOTICE OF PENDING SETTLEMENT

         Plaintiff, GENEVIEVE FIGUEROA, by and through undersigned counsel, hereby

  submits this Notice of Pending Settlement and states the parties have reached a settlement with

  regard to this case and are presently drafting, finalizing, and executing the formal settlement

  documents. Upon full execution of the same, the parties will file the appropriate dismissal

  documents with the Court.

  Dated: March 22, 2017                          Respectfully Submitted,

                                                     /s/ Jibrael S. Hindi
                                                    JIBRAEL S. HINDI, ESQ.
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                                                    COUNSEL FOR PLAINTIFF
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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 10, 2017, I electronically filed the foregoing with

  the Clerk of the Court using the CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel either via transmission of Notices of Electronic Filing generated by

  CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

  to receive electronically Notices of Electronic Filing.



                                                     /s/ Jibrael S. Hindi
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